Case: 5:22-cv-01454-CEH Doc #: 1-1 Filed: 08/15/22 1 of 2. PagelD #: 12

IS44 (Rev. 3/22} CIVIL COVER SHEET

The FS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by focal rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I, (a) PLAINTIFFS DEFENDANTS
Carl Forsell Squirrels, LLC

Allmine. Inc.
County of Residence of First Listed Defendant Stark
(IN US) PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN US. PLAINTIFF CASES}

{c) Attorneys (Firm Name, dddress, and Telephone Number) Attorneys (if Knawn)

The Law Offices of Robert A. Schuerger Co., LPA
10014 Kingsmill Parkway Columbus, OH 43229

II. BASIS OF JURISDICTION (lace an “X” in One Box Only) JH. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an "Xx" in One Box far Plaintiff

(For Diversity Cases Only) and One Box for Defendant)
(Ji US, Government []3 Federal Question PTF DEF PTF DEF
Plaintiff (U8. Government Nol a Party) Citizen of This State oO E x 1 Incorporated or Principal Place CC 4 T] 4
of Business In This State
[]2 U.S. Goverment [x]4 Diversity Citizen of Another State [12 [[] 2. Incomorated and Principal Place = [7] 5 fds
of Business In Another State

Defendant Gndlicate Citizenship af Parties in Hem 1)

Citizen or Subject of a fk] 3 [_] 3 Foreign Nation [j«6 (Cle
Foreign Country

Click here for: Nature of Suit Code Descriptions.

IV. NATURE OF SUIT iiaces an "XC" itt One Box Cal)
be CONTRACT Don TORTS fons cnnane Been, “FORFEITURE/PENALTY af “BANKRUPTCY: ‘OTHER STATUTES 2:
tO Insurance PERSONAL INJURY PERSONAL INJURY Y 1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 330 Airplane C 365 Personal Injury - of Property 2) USC 881 423 Withdrawal 376 Qui Fam (32 USC
130 Miller Act 315 Airplane Product Product Liability Y}690 Other aB USC 157 3729(a))
140 Negotiable Instrument Liability CO 367 Health Caref | 400 State Reapportionment
150 Recovery of Overpayment |] 320 Assault, Libel & Pharmaceutical =) OINTELLECTUAL ‘Lj 41@ Antitrust
& Enforcement of Judgment Slander Personal Injury 2 PROPERTY RIGHTS =] 430 Banks and Banking
| 151 Medicare Act |_] 330 Federal Employers” Product Liability [] 820 Copyrights 450 Commerce
152 Recovery of Defaulted Liability CI 368 Asbestos Personal 830 Patent” 460 Deportation
Student Loans 340 Marine Lyury Product - 835 Patent Abbreviated 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability New Drug Application Corrupt Organizations
[_} 153 Recovery of Overpayment Liabitity PERSONAL PROPERTY [2020 2s LABOR Ec 840 Trademark [| 480 Consumer Credit
of ¥Veteran’s Benefits 356 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards 480 Defend Trade Scerets {15 USC 1681 or 1692)
CJ 160 Stockholders’ Suits | 355 Motor Vehiele - 371 Truth in Lending Act _ Act of 2016 Yt 485 Teicphone Consumer
190 Other Contract Product Liability | 386 Other Personal | 720 Labor/Management SOCIAL SECURITY: Protection Act
195 Contract Product Liability [_] 360 Other Personal Property Damage Relations |_| 861 HIA (13956) 490 Cable/Sat TV
196 Franchise Tafury Ci 385 Property Dainage 740 Railway Labor Act |} 862 Black Lung (923) 850 Securities/Commodities/
|_| 362 Personal Injury - Product Liability 75 Family and Medical 863 DIWC/DIWW (40H(g) Exchange
Medical Malpractice Leave Act || 864 SSID Title XVI |_| 890 Other Statutory Actions
en y REAL PROPERTY: “CIVIL RIGHTS..:.---] PRISONER PETIIIONS » 790 Other Labor Litigation f | 865 RSI (405¢g)) 891 Agricultural Acts
Th 20 Land Condemnation 440 Other Civil Rights Habeas Corpus: )_|791 Employee Retirement 893 Environmental Matters
[_] 226 Foreclosure 44] Voting |] 463 Alien Detaince Income Security Act Ze i =e] | 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment |_| 510 Motions to Vacate $70 Taxes wu 8. Plaintiff Act
240 Toris to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations [| 530 General OH 871 IRS—Third Party 899 Administrative Procedure
f | 290 Al Other Real Property |] 445 Amer. w/Disabilities - |} $35 Death Penaity oo IMMIGRATION 26 USC 7609 Act/Review ar Appeal of
Employment Other: 462, Naturalization Application Agency Decision
|] 446 Amer. w/Disabilities -{” | 540 Mandansus & Other 465 Other Immigration |_| 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
r] 448 Education 553 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “x" in One Box Only}

pq! Original ry Removed from 3. Remanded from C4 Reinstated or Ll 5 Transferred from Gi 6 Multidistrict C] 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (Da sof cite jurisdictional stetntes nniess diversity):

VI. CAUSE OF ACTION
rief description of cause:

Breach of Contract
Vi REQUESTED IN (] CHECK IF THIS IS A CLASS ACTION DEMAND $

CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, FR.Cv.P, $774,373.60 JURY DEMAND: Clyes []No
VI. RELATED CASE(S) a
IF ANY (See instructions): JUDGE OCKET NUMBER
DATE ST ee OF RECORD
8/15/22 wna
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING ITP JUDGE MAG. JUDGE

Case: 5:22-cv-01454-CEH Doc #: 1-1 Filed: 08/15/22 2 of 2. PagelD #: 13

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

I. Civil Categories: (Please check one category only _).

1. |W General Civil
2. Administrative Review/Social Security
3. Habeas Corpus Death Penalty

*If under Title 28, §2255, name the SENTENCING JUDGE: oo ccne neue nme snmnens

CASE NUMBER: >

lt. RELATED OR REFILED CASES See LR 3.1 which provides in pertinent part: “If an action is filed or removed to this Court
and assigned to a District Judge after which itis discontinued, dismissed or remanded to a State court, and
subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsibie for
bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."

This action: is RELATED to another PENDING civil case [is a REFILED case was PREVIOUSLY REMANDED

lf applicable, please indicate on page 1 in section VIII, the name of the Judge and case number.

Ill. In accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
divisional offices therein. Actions involving counties in the Western Division shall be filed at the Toledo office. For the
purpose of determining the proper division, and for statistical reasons, the following information is requested.

ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 IN ORDER. UPON FINDING WHICH
PARAGRAPH APPLIES TO YOUR CASE, ANSWER iT AND STOP.

(1) Resident defendant If the defendant resides in a county within this district, please set forth the name of such

county

county: Stark

Corporation For the purpose of answering the above, a corporation is deemed to be a resident of that county in
which it has its principal place of business in that district.

(2) Non-Resident defendant. If no defendant is a resident of a county in this district, please set forth the county
wherein the cause of action arose or the event complained of occurred.
COUNTY:

(3} Other Cases. if no defendant is a resident of this district, or if the defendant is a corporation not having a principle
place of business within the district, and the cause of action arose or the event complained of occurred outside
this district, please set forth the county of the plaintiff's residence.

COUNTY

IV. The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
determined in Section III, please check the appropriate division.

EASTERN DIVISION
v AKRON Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne}
Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga,
CLEVELAND Lake, Lorain, Medina and Richland)
YOUNGSTOWN (Counties: Columbiana, Mahoning and Trumbull)
WESTERN DIVISION
TOLEDO (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca

VanWert, Williams, Wood and Wyandot}

